;_ -.-.~..-_ case: 1:04-cv-05009.é'umqr_a\; #: 1 Filed: 07/30/04 Page. 4 Pagelo #:1

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FRANCESA WELCH, ) §§
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mims ) al ‘\ :-» s := - -
) No. 04 CV
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) (jurjy demand)
CITY OF CHICAGO and ) m p;":`l:l"‘ -"..u :“T`-Er;:\.\#~`{i[j r;.\r:-']
CHICAGO POLICE OFFICERS ) *' ‘ ' "
BRODERICK JONES, #`17432, )
and VINCENT BARNER, #19562, ) _E` _ l w : l ` ` `
Defendan£s. ) DOC K E*l- E D
COMPLAINT JUL. 3 0 2004

Plaintiff, by counsel, allege as follows:

l. This is a civil action arising under 42 U.S.C. §1983. The jurisdiction of
this court is conferred by 28 U.S.C. §1343.

2. Plaintit`f Francesa Welch is a resident of the Northern Dist:rict of Illinois.
3. Det`endant CITY GF CHICAGG is an Illinois municipal corporation.

4. Defendants BRODERICK JONES, #17432 and VlNCENT BARNER,
#19562 Were at all times relevant acting under color their authority as

Chicago police oflicers.

5. In 2001, defendants JONES and BARNER fabricated evidence which

caused plaintiff to be indicted and held to answer criminal charges

6. Thereafter, defendants JONES and BARNER concealed defendant’s
innocence of any criminal wrongdoing from the prosecutors and thereby

caused plaintiff to he wrongfully prosecuted until she was acquitted on \

 

 

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March 15, 2004.

7. Defendants JONES and BARNER committed the misconduct referred to
above as the result of the deliberate indifference of defendant City of Chi-

cago to the fabrication of evidence by its police ofticers.

8. As the direct and proximate result of the above described acts, plaintiff
was deprived of rights secured by the Fourth and Fourteenth Amendrnent
to the Constitution of the United States and subjected to the Illinois tort of

malicious prosecution.
9. Plaintiff hereby demands trial by jury.

Wherefore plaintiff requests that judgment be entered in her favor and
against defendants in an amount in excess of one hundred thousand dollars as

compensatory damages

 

 

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Ig.\\d<a"rn N. FLAXMAN
200 South Michigan Avenue

Suite 1240
Chicago, Illinois 60604

(312) 427*32()0
attorney for plaintiff

 

 

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V' C°Ve§ e.`ieo¢t- cv-ci$hc%umem# 1 Filed: 07/30/04 Page .4 Pagelo#:s age °

<, _ UNITED STATES ])ISTRIC‘T COURT
`“ NORTHERN DISTRICT OF ILLINOIS d M
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This automated JS-44 conforms generally to the manual 151-44 approved by the Judicial Con_ference of the United States in
September 1974. The data is required for the use of the Clerlc ofCourt for the purpose of initiating the civil docket sheet. The
information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required
by law. This fonn is authorized for use only in the Northem District of Tllinoi.s.

 

]]efendant(s):City of Chicago, Broderick .Iones,

Plaintiff(s): Franchcsa Welch and Vincent namer

County of Residence: Cook County of Rcsidencc:

Plaintiff‘s Atty: Kenncth N. Flaxman Dcfendan ' t ‘
asme-ai N. roman P.c. 64 C 5 0
200 S Michigan AVe.,Ste 1240 0 9

(312) 427-3200

 

I_I_.` Basis of Jurisdiction: 3. Fedcral Qucsn'ou (U.S. not a party)

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Pal'ties (Divcrsity Cascs Only)

Plaintiff:- N/'A MAG!STF€ATE JUDGE MAS(DN
Defendant:- N/A

IV. Origjn : l. Original Prnceeding
V. Nature of Suit: 440 ()ther Civil Rights
VI,§ §ause cf Action: 42 U.S.C. §1983: citizen framed by police officers

Vll. Reguested in Qomplaint
Class Action: No

Dollar Demand: $100,00{|
Jury Demand: ch

VIII. This case IS NQT a refiling of a previously dismissed casc.

 

Signature:

Date:

 

 

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UNITED STATES DISTRIE`T COUR'I`

Case: 1:04-cv-05009 .umem #: 1 Filed: 07/30/04 Page 4.4 Pazlo #: 4
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NORTHERN DISTRICT OF ILL{INOIS im

In the Matter of

Franchesa Wclch
-vs_
City of Chicago ct al.

Eastei'n Division

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JuL 3 0 2004

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APPEARANCES ARE HEREBY FlLED BY THE UNDERSlGNED AS ATTORNEY(S) FOR:

plaintiff Francesa Wel_ch

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TRLAL ATTUR.NEY'! ‘¢'ES

 

 

 

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